            Case 20-11568-KBO        Doc 565      Filed 04/20/22      Page 1 of 1




Reference       Footnote
Part 1(c)       In the ordinary course of business, the Company will engage in certain barter
                transactions whereby equipment is exchanged for freight services. While these
                barter transactions may not relate directly to the bankruptcy, they have been
                included by the Reorganized Debtor out of an abundance of caution.
Part 3          Pursuant to the Plan, holders of administrative, secured, and/or priority claims
                were not impaired. The amounts paid to holders of allowed claims as reflected in
                the table are not meant to be an admission of that claim’s priority or
                classification status.
Part 3(a)       Primarily relates to the payment of various cure costs.
Part 3(b)       Primarily relates to the payment of various liens.
Part 3(c)       Primarily relates to the payment of various tax amounts.
Part 3(d)       Pursuant to the Plan, certain holders of unsecured claims (non‐membership
                related) are entitled to pro‐rata distribution of up to the $1,500,000 general
                unsecured recovery pool, not to exceed 1% of any claim amount.

                Certain holders of unsecured claims (specifically membership‐related) are
                entitled to a gift card based on the value of their unsecured claim.

                Certain holders of unsecured claims (non‐membership related) are eligible to
                receive warrants in lieu of a cash recovery provided they meet the criteria in the
                Plan.

                As of the issuance of this PCR, all claims are in the process of being reviewed
                by the Reorganized Debtor and its advisors, and the claim objection deadline
                has been extended by the Court.
